                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
In re:                                                           Case Number: 20-51066-MAR

HENRY FORD VILLAGE, INC.                                         Chapter 11

          Debtor.                                                Hon. Mark A. Randon
                                                            /


      NOTICE OF VERIFIED STATEMENT OF DEBTOR’S FUNDS AND
        DISBURSEMENTS MADE FROM DECEMBER 1, 2021 UNTIL
         CONFIRMATION DATE OF PLAN OF DECEMBER 6, 2021


          PLEASE TAKE NOTICE that attached as Exhibit “A” is a verified

Monthly Cash Statement for Henry Ford Village, Inc. (the “Debtor”) reflecting

funds held on December 1, 2021 and funds received through December 6, 2021,

the date of confirmation of the Debtor’s First Amended Combined Disclosure

Statement and Liquidating Chapter 11 Plan of Henry Ford Village, Inc. [ECF No.

651] (the “Plan”). The verified Monthly Cash Statement also shows disbursements

made by Debtor from December 1, 2021 to December 6, 2021 as well as the

calculation of United States Trustee’s fees for the fourth quarter of 2021 (through

the Confirmation Date of the Plan of December 6, 2021).




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  20-51066-mar            Doc 702         Filed 01/18/22   Entered 01/18/22 18:26:34   Page 1 of 7
Dated: January 18, 2022.                 DYKEMA GOSSETT PLLC

                                         By: /s/ Sheryl L. Toby
                                            Sheryl L. Toby (P39114)
                                            39577 Woodward Avenue, Suite 300
                                            Bloomfield Hills, Michigan 48304
                                           (248) 203-0700 / Fax (248) 203-0763
                                            SToby@dykema.com

                                                and

                                                Danielle N. Rushing
                                                Texas Bar No. 24086961
                                                112 East Pecan Street, Suite 1800
                                                San Antonio, Texas 78205
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                                                DRushing@dykema.com

                                                COUNSEL FOR DEBTOR
                                                AND DEBTOR-IN-POSSESSION




                                                2
      20-51066-mar   Doc 702   Filed 01/18/22       Entered 01/18/22 18:26:34   Page 2 of 7
                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
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IN RE:                                           Case No. 20-51066-mar

HENRY FORD VILLAGE, INC.,                        Chapter 11

     Debtor.                                     Honorable Mark A. Randon
________________________________/

                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 18th day of January, 2022, a true

and correct copy of the foregoing document was served via CM/ECF on all parties

registered to receive notice.

                                         DYKEMA GOSSETT PLLC

                                         By: /s/ Sheryl L. Toby
                                            Sheryl L. Toby (P39114)
                                            39577 Woodward Avenue, Suite 300
                                            Bloomfield Hills, Michigan 48304
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                                            SToby@dykema.com
                                                 and
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                                                 COUNSEL FOR DEBTOR AND
                                                 DEBTOR-IN-POSSESSION


                                             3
 20-51066-mar     Doc 702   Filed 01/18/22       Entered 01/18/22 18:26:34   Page 3 of 7
                 Exhibit “A”




20-51066-mar   Doc 702   Filed 01/18/22   Entered 01/18/22 18:26:34   Page 4 of 7
Henry Ford Village, Inc.
Case No: 20-51066

                                                                                               Monthly Cash Statement
                                                                                                       12/6/2021
                                                                                                   Case No: 20-51066
                                                                                        Cash Activity Analysis (Cash Basis Only)



                                                                                                        Beginning Book                               Interbank                                  Ending Book
        Bank Account                                 Acct Type                       Acct no.               Balance               Receipts           Transfers           Disbursements            Balance


  Operating Accounts
Comerica                              Operating                                          0518           $       916,868       $        34,998    $               -   $             (260) $            951,607

Citizens Bank1                        Operating - 2                                      3782                 13,369,731                     -                   -               (97,236)           13,272,495

Comerica                              Payroll 2                                          1218                      4,345                     -                   -                   -                   4,345

Comerica                              Credit Card collateral                             6701                         -                      -                   -                   -                      -

Comerica                              Pre-Occupancy                                      1010                   220,970                      -                   -                   -                220,970

Comerica                              Entrance fee escrow                                9459                         -                      -                   -                   -                      -

Merrill Lynch                         Marketable Securities                              2175                         -                      -                   -                   -                      -

Merrill Lynch                         Marketable Securities                              2157                             0                  -                   -                   -                          0
                                                                                                        $     14,511,914      $        34,998    $               -   $           (97,496) $         14,449,416


     Restricted Accounts

Comerica                              Resident Clubs                                     1028           $             567     $              -                   -   $               -      $               567

Comerica                              Benevolent care/ Qual of Life                      1135                      1,220                     -                   -                (1,220)                       (0)

Comerica                              Lease security deposit                             8738                   276,757                      -                   -                   -                276,757

Comerica                              Utility deposit                                    8753                    84,751                      -                   -                   -                 84,751

Merrill Lynch                         Charitable Annuities                               2119                   108,516                      -                   -                   -                108,516

Merrill Lynch                         Endowed Scholarship                                2117                      1,164                     -                   -                   -                   1,164
                                                                                                        $       472,976       $              -   $               -   $            (1,220) $           471,755


Total                                                                                                   $     14,984,890      $        34,998    $               -   $           (98,716) $         14,921,172

(1) New account activated on July 29, 2021.
(2) This is a zero balance account. Checks presented are covered by transfers from Operating account.


I declare under penalty of perjury that the foregoing is true and correct.

Dated: January 18, 2022.
/s/ Chad J. Shandler, CRO
Chad J. Shandler, CRO




                                                  20-51066-mar               Doc 702            Filed 01/18/22        Entered 01/18/22 18:26:34           Page 5 of 7
Henry Ford Village, Inc.
Case No: 20-51066

                                                                    Disbursement Detail
                                                                    12/1/2021 - 12/6/2021
                                                                     Case No: 20-51066

     Bank Account               Acct Type                      Date               Amount                              Vendor

Comerica               Operating                       12/1/2021 - 12/6/2021               $ 260   Employee FSA Debits
Citizens Bank          Operating - 2                                12/2/2021             51,044   ABM HEALTHCARE SUPPORT SERVICES INC ABM
Citizens Bank          Operating - 2                                12/2/2021                205   BEAUMONT HOSPITAL - DEARBORN
Citizens Bank          Operating - 2                                12/2/2021                703   CT CORPORATION SYSTEM
Citizens Bank          Operating - 2                                12/2/2021             38,200   MILLER-BOLDT INC
Citizens Bank          Operating - 2                                12/2/2021                904   OCCUPATIONAL HEALTH CTRS OF MICHIGAN
Citizens Bank          Operating - 2                                12/2/2021                908   INDEPENDENT CONTRACTOR - NAME REDACTED
Citizens Bank          Operating - 2                                12/2/2021                100   UNIVERSITY OF MICHIGAN - ANN ARBOR
Citizens Bank          Operating - 2                                12/2/2021              1,560   INDEPENDENT CONTRACTOR - NAME REDACTED
Citizens Bank          Operating - 2                                12/2/2021              3,612   WOW! INTERNET & CABLE (WIDEOPENWEST)
Comerica               Benevolent care/ Qual of Life                12/6/2021              1,220   INFORMATION REDACTED
Total                                                                                   $ 98,716




                           20-51066-mar          Doc 702      Filed 01/18/22    Entered 01/18/22 18:26:34     Page 6 of 7
Henry Ford Village, Inc.
Case No: 20-51066

                        UST Fee Calculation
                              4Q2021
                         Case No: 20-51066

              Month                    Total Disbursements
10/1/2021 - 10/31/2021                                  $ 2,930,457
11/1/2021 - 11/30/2021                                  $ 3,531,619
12/1/2021 - 12/6/2021                                      $ 98,716
Total 4Q2021 Disbursements                              $ 6,560,792
  UST Fees                                                 $ 52,486




     20-51066-mar       Doc 702   Filed 01/18/22   Entered 01/18/22 18:26:34   Page 7 of 7
